Case 1:14-cr-00215-HYJ            ECF No. 113, PageID.299          Filed 02/04/15      Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:14-cr-00215-GJQ-4
                                    )
v.                                  )                 Honorable Gordon J. Quist
                                    )
ANTWAN PETERSON ,                   )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on February 3, 2015, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Antwan Peterson entered a plea of guilty to Count 1 of the Indictment in

exchange for the undertakings made by the government in the written plea agreement. In Count 1

of the Indictment, defendant is charged with Conspiracy to Distribute Heroin in violation of 21

U.S.C. Section 846, 841(a)(1), and 841(b)(1)(C). On the basis of the record made at the hearing,

I find that defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea agree-

ment; that the defendant understands the nature of the charge and penalties provided by law; and that

the plea has a sufficient basis in fact.
Case 1:14-cr-00215-HYJ           ECF No. 113, PageID.300            Filed 02/04/15      Page 2 of 2




               Accordingly, I recommend that defendant's plea of guilty to Count 1 of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Date: February 4, 2015                                  /s/ Phillip J. Green
                                                       PHILLIP J. GREEN
                                                       United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                                 -2-
